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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )           4:05CR3031-2
                                            )
             Plaintiff,                     )
                                            )
vs.                                         )           MEMORANDUM
                                            )           AND ORDER
MARIA DE LOS ANGELES MENDEZ,                )
                                            )
             Defendant.                     )

      On the joint oral motion of the parties,

       IT IS ORDERED that a status hearing before the undersigned United States district
judge is set for Monday, May 15, 2006, at 1:30 p.m., in Courtroom No. 1, Robert V. Denney
Federal Building and United States Courthouse, in Lincoln, Nebraska. Since this is a
criminal case, the defendant shall be present unless excused by the court. Counsel for the
government, counsel for the defendant, and the defendant shall be present at the hearing.

      May 12, 2006.                              BY THE COURT:

                                                 s/ Richard G. Kopf
                                                 United States District Judge
